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                          Case N o.17-60533-C IV -M A R TINEZ/A O R
  RODN EY SCO TT PA TTERSON ,

        Plaintiff,



  A M ERICAN A IRLIN ES,
  a Delaw are corporation,

        D efendant,


                                            O R D ER

        THIS CAUSE camebeforetheCourtupon DefendantAmericanAirlines'(iGDefendanf')
  Notice of Discovery Hearing (D.E.28j and Plaintiff Rodney Scott Patterson's (sçplaintiff')
  Cross-NoticeofDiscovery Hearing (D.E.291. Thesematterswerereferred to the undersigned
  pursuantto 28 U.S.C.j 636 by the Honorable Jose E.M artinez,United States DistrictJudge
  (D.E. 191. The undersigned held a hearing on these matters on February 21,2018. In
  accordancewith theundersigned'srulingsatthehearing,itis

        ORDERED AN D ADJUDGED asfollows:

            > As to Plaintiff's claim of privilege over documents that were produced, the

               privilege claim isprelilninarily sustained, The docum entsthatwere inadvertently

               produced were returned to Plaintiffs counselin open court. Plaintiff shallserve

               on Defendanta privilege 1og forthose docum ents and Defendantmay challenge

               the privilege assertionspifappropriate.
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           > Asto Plaintiff'sdeposition,the parties shallsubm itan Agreed Order setting the

               date ofthe deposition afterPlaintiffs counsellearn the status oftheirupcom ing

               trialin anothermatter.

           # Asto Defendant'ssubpoena to produce docum entsdirected to Plaintiff's current

               em ployer, 21 Air         Plaintiffs objection to the subpoena is sustaintd.
               However, Plaintiff shall voluntarily produce to Defendant any fitness-related

               testing ordocum entation from hiscurrentem ploym entwith 21Air,LLC.

           # As to Plaintifps request for production related to John Knippa,PIA.D.(iéDr.
               Knippa'),Defendant'sobjection issustained subjecttothestipulation announced
               on the record regarding Dr.Knippa's other examinations ofAmerican Airlines

               pilots.

        DONE AND ORDERED in Cham bersatM iami,Florida,this2/ day ofFebruary, 2018.


                                              .Q       ..         A
                                           ALICIA M .OTAZ -REYES
                                           U N ITED STA TES M A G ISTR ATE JU D G E

  cc:   United StatesD istrictJudge Jose E.M artinez
        CounstlofRecord




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